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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 ADMINISTRATORS OF THE TULANE                         *     CIVIL ACTION
 EDUCATIONAL FUND,                                    *     NO. 21-820
    Plaintiff                                         *
                                                      *     SECTION: "T" (1)
 VERSUS                                               *
                                                      *     JUDGE GREG GERARD GUIDRY
 ILLINOIS UNION INSURANCE COMPANY,                    *
 ET AL.,                                              *     MAGISTRATE JUDGE
     Defendants                                       *     JANIS VAN MEERVELD


                                             ORDER

       IT IS ORDERED that oral argument on Plaintiff’s Motion to Compel (Rec. Doc. 83)

scheduled for Wednesday, August 17, 2022, at 11:00 a.m., before Magistrate Judge Janis van

Meerveld, will be conducted via VIDEO CONFERENCE. A Zoom for Government link will be

circulated to counsel of record via email. Everyone should join the link about five minutes ahead

of the start time and wait to be admitted by the judge.

       New Orleans, Louisiana, this 9th day of August, 2022.




                                                               Janis van Meerveld
                                                          United States Magistrate Judge
